                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION


 JESSE PIERCE and MICHAEL PIERCE,                  )
 on behalf of themselves and all others            )
 similarly situated,                               )
                                                   )
                Plaintiffs,                        )
                                                   )
 v.                                                ) Civil Action No.: 3:13-cv-00641 -DCP
                                                   )
 WYNDHAM VACATION RESORTS,                         )
 INC., and WYNDHAM VACATION                        )
 OWNERSHIP, INC.,                                  )
                                                   )
                Defendants.                        )


                 DEFENDANTS’ UNOPPOSED MOTION TO RELEASE
               SUPERSEDEAS APPEAL BOND AND APPEAL BOND RIDER


        Defendants Wyndham Vacation Resorts, Inc. and Wyndham Vacation Ownership, Inc.

 (“Defendants” or “Wyndham”) respectfully move this Court, without opposition, for an Order

 releasing the supersedeas Appeal Bond and Appeal Bond Rider that they have filed in this matter.

 The grounds for this motion are as follows:

        1.      On February 5, 2018, this Court entered judgment in favor of Plaintiffs and against

 Defendants in the amount of $5,025,925.82. (Doc. 429).

        2.      Defendants timely filed a Notice of Appeal to the United States Court of Appeals

 for the Sixth Circuit on March 7, 2018. (Doc. 430). Plaintiffs filed their cross Notice of Appeal on

 March 21, 2018 (Doc. 440).

        3.      The parties filed a Joint Motion to Stay (Doc. 458), attaching Defendants’ proposed

 Appeal Bond (Doc. 458-1) and Appeal Bond Rider (Doc. 458-2). On November 11, 2018, the Court




Case 3:13-cv-00641-DCP Document 466 Filed 08/14/19 Page 1 of 4 PageID #: 17967
 signed an Agreed Order Staying Execution on Judgment and Approving Supersedeas Bond (Doc.

 459).

          4.    Defendants submitted the supersedeas Appeal Bond and Appeal Bond Rider to the

 Court, which the Court received and placed in its financial vault on November 26, 2018 per the

 Order, issuing receipt #K3036858. The receipt is being held by defense counsel. The Appeal Bond

 and Appeal Bond Rider were issued collectively by Fidelity and Deposit Company of Maryland as

 Bond No. 9278031.

          5.    On April 29, 2019, the Sixth Circuit Court of Appeals rendered its opinion and

 ordered that “the judgment of the District Court is AFFIRMED IN PART and REVERSED IN

 PART, the damages award is VACATED, and the case is REMANDED for further proceedings

 consistent with this opinion” (Doc. 460). The MANDATE of the Court of Appeals was filed in this

 Court on May 23, 2019 (Doc. 462).

          6.    As the award of damages has been vacated, the Appeal Bond and Appeal Bond Rider

 serve no further purpose and should be released. Fed. R. Civ. P. 62 entitles a party who files a

 satisfactory supersedeas bond to a stay of a money judgment as a matter of right. Arban v. West

 Pub. Corp., 345 F.3d 390, 409 (6th Cir. 2003). The purpose of the supersedeas bond is to preserve

 the status quo during the pendency of an appeal. Schreiber v. Kellogg, 839 F. Supp 1157, 1159

 (E.D. Pa. 1993). Since the Sixth Circuit Court of Appeals has vacated the award of money damages

 against Defendants, there is no longer any legal basis for the continued existence of the supersedeas

 bond. Buckhorn, Inc. v. Orbis Corp., 2015 U.S Dist. LEXIS 151636 at *3 (S.D. Ohio Sept. 29,

 2015); G.G. Marck & Assocs. v. Peng, 2009 U.S Dist. LEXIS 27370 at *4 (N.D. Ohio Mar. 31,

 2009).




                                    2
Case 3:13-cv-00641-DCP Document 466 Filed 08/14/19 Page 2 of 4 PageID #: 17968
        7.      Accordingly, Defendants are entitled to obtain the release of the Appeal Bond and

 Appeal Bond Rider.

        8.      The undersigned counsel certifies that on August 8, 2019 he conferred with Martin

 Holmes, counsel for Plaintiffs, who stated that Plaintiffs have no opposition to this motion.

          WHEREFORE, Defendants respectfully request the Court, without opposition, to enter an

 Order releasing the Appeal Bond and Appeal Bond Rider to counsel for Defendants according to

 any further Court instructions.


                                           Respectfully submitted,

                                           s/ Colby S. Morgan
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                                           ATTORNEYS FOR DEFENDANTS




                                    3
Case 3:13-cv-00641-DCP Document 466 Filed 08/14/19 Page 3 of 4 PageID #: 17969
                                  CERTIFICATE OF SERVICE

          I hereby certify that I have this 14th day of August 2019, electronically filed the foregoing
 Defendants’ Unopposed Motion to Release Supersedeas Bond and Bond Rider with the Clerk of
 Court using the CM/ECF system, which will automatically send an electronic notification of such
 filing to the following:

                                    Martin D. Holmes (TN Bar No. 012122)
                                    Peter F. Klett (TN Bar No. 012688)
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                                                       s/ Colby S. Morgan
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 4822-1256-9759, v. 1




                                    4
Case 3:13-cv-00641-DCP Document 466 Filed 08/14/19 Page 4 of 4 PageID #: 17970
